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 1 HAYES H. GABLE III
   Attorney at Law
 2 State Bar No. 60368
   428 J Street, Suite 350
 3 Sacramento, CA 95814
   (916) 446-3331
 4
   Attorney for Defendant
 5 DIALLO SIMS

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                        )           CR. S-06-450 LKK
                                                    )
12    Plaintiff,                                    )
                                                    )           STIPULATION AND
13                                                  )           ORDER RE: CONTINUANCE OF
                                                    )           STATUS CONFERENCE AND
14 v.                                               )           EXCLUSION OF TIME UNDER
                                                    )           SPEEDY TRIAL ACT
15 DIALLO SIMS and                                  )
   DONNA LAVETTA WILSON,                            )
16                                                  )
                                                    )
17    Defendants.                                   )           Judge: Hon. LAWRENCE K. KARLTON
                                                    )
18
                                                        -o0o-
19
            Plaintiff, United States of America, by and through its counsel, Special Assistant United
20
     States Attorney Dale Kitching, and defendants Diallo Sims, by and through his counsel, Hayes H.
21
     Gable, III, and Donna Lavetta Wilson, by and through her counsel, Assistant Federal Defender
22
     Lexi Negin, agree and stipulate to vacate the existing status conference in the above-captioned
23
     action, June 5, 2007, and to continue the matter to July 10, 2007, at 10:00 a.m. for status
24
     conference.
25
            The reason for this request is that the defense and the government require additional time
26
     to complete investigation that may significantly impact on the potential settlement of this action .
27
     The parties further agree and stipulate that the period for the filing of this stipulation until July 10,
28
     2007, should be excluded in computing time for commencement of trial under the Speedy Trial

                                                                  1.
               Case 2:06-cr-00450-MCE Document 38 Filed 06/04/07 Page 2 of 2
 1 Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to

 2 allow continuity of counsel and to allow reasonable time necessary for effective presentation. It

 3 is further agreed and stipulated that the need of defense counsel to prepare exceeds the public’s

 4 interest in commencing trial within 70 days.

 5         Counsel for the government and defendant Wilson has authorized the execution of this

 6 stipulation on their behalf. Accordingly, the parties respectfully request the Court adopt this

 7 proposed stipulation.

 8

 9 Dated: May 31, 2007                            /s/Hayes H. Gable, III
                                                  HAYES H. GABLE III
10                                                Attorney for Defendant
                                                  DIALLO SIMS
11
     Dated: May 31, 2007                          DANIEL BRODERICK
12                                                Federal Defender

13                                                /s/Hayes H. Gable, III for
                                                  LEXI NEGIN
14                                                Assistant Federal Defender
                                                  Attorney for Defendant
15                                                DONNA LAVETTA WILSON

16

17 Dated: May 31, 2007                            MCGREGOR W. SCOTT
                                                  United States Attorney
18
                                         By:      s/Hayes H. Gable, III for
19                                                DALE KITCHING
                                                  Special Assistant United States Attorney
20

21                                                ORDER

22   IT IS SO ORDERED.

23
     Dated: June 1, 2007
24

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                                                            2.
